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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SAMANTHA BISER,                                       )
                                                      )
                                                      )             Civil Action
                                                      )
                       Plaintiff,                     )                 2:21-cv-1269
                                                                    No. _______________
                                                      )
               v.                                     )
                                                      )      JURY TRIAL REQUESTED
SLIPPERY ROCK UNIVERSITY,                             )
                                                      )
                                                      )
                       Defendant.                     )
                                                      )
                                                      )
                                                      )

                                          COMPLAINT

        AND NOW comes the Plaintiff, Samantha Biser, by and through her counsel, Kristen C.

Weidus, Esq., Lisa Postlewait, Esq., and Ruder Law LLC, and alleges and avers as follows:

                                PRELIMINARY STATEMENT

        Plaintiff alleges that Slippery Rock University (“Defendant”) violated Plaintiff’s due

process rights in dismissing her from its Physician Assistant Program, and the University also

breached their contract.

                                    JURISDICTION AND VENUE

   1.        This Complaint seeks appropriate relief for violations pursuant to a civil action

             under, inter alia, 42 U.S.C. §§ 1983 seeking damages against Defendant for

             committing acts, under color of law, with the intent and for the purpose of depriving

             Plaintiff of rights secured under the Fourteenth Amendment of the Constitution and

             laws of the United States, and for refusing or neglecting to prevent such

             deprivations and denials to Plaintiff.
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2.      This case arises under the United States Constitution and 42 U.S.C. §§ 1983 and

        1988, as amended. This Court has jurisdiction in this matter pursuant to 28 U.S.C.

        §1331 and 28 U.S.C. § 1343, as this action arises under the laws of the United

        States.

3.      Further, this action seeks recovery of attorneys’ fees and costs pursuant to §§ 1983

        and 1988.

4.      This Court is an appropriate venue for this cause of action pursuant to 28 U.S.C.

        §§1391(b)(1) and 1391(b)(2). The actions complained of took place in this judicial

        district, evidence and pertinent records relevant to the allegations would be

        maintained in this judicial district, and the Defendant is present and/or conducts

        affairs in this judicial district.

5.      The Court has supplemental jurisdiction pursuant to 28 U.S.C.A. § 1367 over

        claims brought pursuant to Pennsylvania state law because such claims arise from

        the same set of operative facts as those claims brought pursuant to the claims

        arising under the United States Constitution and 42 U.S.C. §§ 1983 and 1988. The

        facts underlying all claims herein raised are so related that they create the same case

        and controversy.

                               FACTUAL ALLEGATIONS

6.      Plaintiff began attending Slippery Rock University in the Summer of 2018 in their

        Master of Science Physician Assistant Studies Graduate Program.

7.      Plaintiff took classes and was in good standing in this program during the Summer

        and Fall of 2018, as well as the Spring, Summer, and Fall of 2019.

8.      Plaintiff earned a cumulative GPA of 3.703.


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9.       During the Fall 2019 semester, Plaintiff made plans to perform her psychiatry

         rotation at Family Centers for Recovery/Wellington Retreat in Florida.

10.      On November 24, 2019, she booked an Airbnb in Lake Worth, Florida for herself

         and a fellow student to live off grounds during this rotation.

11.      The homeowner later canceled her reservation, and the Plaintiff could not find

         reasonably priced housing in the area.

12.      As a result, Plaintiff and her classmate made plans to stay onsite at Wellington

         Retreat.

13.      Plaintiff and her classmate arrived at Wellington Retreat around 9:00 P.M. on

         February 22, 2020.

14.      They buzzed in to have staff unlock the doors. Someone told them they would let

         them in shortly.

15.      Both students waited for approximately forty-five minutes, buzzing two times, until

         another student who was residing at Wellington Retreat let them into the facility.

16.      That student did not ask for identification or inquire about the reason for their visit.

17.      The Plaintiff and her classmate were eventually shown to their room by Wellington

         Retreat staff.

18.      On February 23, 2020, a housekeeper named Victor gave Plaintiff and her

         classmate a tour of the facility. Victor told them they could come and go as they

         pleased. He indicated the students who lived onsite did not have to come back every

         night, and unlike the patients, students did not have a curfew.

19.      The housekeeper emphasized that no one was to keep food in their rooms.




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20.      The Plaintiff was not told any other rules at that time, and the housekeeper never

         mentioned that guests were prohibited.

21.      On Saturday evening, February 29, Plaintiff and her classmate took an Uber to West

         Palm Beach, where they had dinner. While at the restaurant, they met a family on

         vacation. They talked to the family for some time. Ultimately, a young adult

         member of the family opted to remain at the restaurant after his remaining family

         members departed.

22.      Plaintiff recalls having a couple of alcoholic beverages that evening, but she was

         not impaired or under the influence.

23.      As Plaintiff and her classmate made plans to return to Wellington Retreat, the

         young adult whose family has since left noted that his phone battery had died, and

         he could not call anyone or return to his family. He insisted on charging his phone

         at the residence of Plaintiff and her classmate.

24.      Not wanting to abandon the young adult and after pressure from her classmate,

         Plaintiff ultimately agreed to permit him to charge his phone at the residence.

25.      Plaintiff’s classmate called an Uber to take the three of them back to their

         temporary residence at Wellington Retreat.

26.      Plaintiff does not recall encountering anyone at the facility when they returned that

         night.

27.      Their guest charged his phone in the Plaintiff and classmate’s room at Wellington

         Retreat. However, because it was late all three soon fell asleep.

28.      The next morning, on March 1, 2020, their guest called an Uber, and Plaintiff

         showed him to the exit.



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29.      On Monday, March 2, around noon, the Executive Director of Family Centers for

         Recovery/Wellington Retreat, Dr. Moran, called Plaintiff and her classmate into his

         office. Dr. Moran’s assistant, Mr. Hector Sigler, was already present.

30.      During this meeting, Dr. Moran showed a video still to Plaintiff and her classmate,

         and he asked them to identify a person in the photo. Plaintiff and her classmate

         identified the individual as the guest who had slept in their room.

31.      Plaintiff and her classmate tried to speak to Dr. Moran and Mr. Sigler about what

         happened the night of February 29, but Dr. Moran would not permit them explain.

32.      Specifically, in response, Dr. Moran interrupted Plaintiff and said the students were

         required to leave Wellington Retreat grounds immediately. He also stated that they

         were being dismissed from their clinical rotation.

33.      Before leaving, Plaintiff and her classmate apologized for their actions.

34.      Plaintiff agreed to leave Wellington Retreat as a temporary resident, but she begged

         to continue her clinical rotation.

35.      Dr. Moran rejected Plaintiff’s request to stay on as a student.

36.      Dr. Moran left the office less than ten minutes after the meeting began, and Plaintiff

         and her classmate remained with Mr. Sigler.

37.      Mr. Sigler indicated that he had to call Professor Buterbaugh from Slippery Rock

         University immediately to tell her about the students’ removal from Wellington

         Retreat grounds and dismissal from their clinical rotation.

38.      Both students asked for time to call Professor Buterbaugh themselves.

39.      Mr. Sigler agreed to wait to call until after he finished his lunch.




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40.      Plaintiff’s classmate called Professor Buterbaugh and told her what happened.

         During this call, their Professor simply said she would be getting back them.

41.      Plaintiff and her classmate immediately packed their belongings and left the

         facility.

42.      Plaintiff participated in disciplinary meetings on March 4, 2020, and March 18,

         2020.

43.      Before, during, and after these meetings, Plaintiff took full responsibility for her

         actions.

44.      Plaintiff admitted that she did not intentionally break a rule or engage in

         disrespectful behaviors.

45.      Plaintiff at no point intended to compromise patient safety.

46.      Plaintiff had no idea this alleged offense could cause dismissal from her rotation,

         much less Defendant’s entire Physician Assistant Studies Graduate Program.

47.      During disciplinary meetings, Plaintiff told Defendant that no patient records were

         kept in her room, and a guest would not be able to access any patient information.

48.      Plaintiff informed Defendant that all patient information was on a secure and locked

         laptop.

49.      Dr. Moran and Mr. Sigler provided statements to Defendant. In their statements,

         they described Plaintiff as “sneaky” in the video surveillance footage.

50.      Plaintiff admitted that if she appeared “sneaky” in showing the guest out, it was

         only because she was embarrassed at the perception others may have when a young

         woman shows a guest out of her room in the morning.




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51.      Defendant alleged Plaintiff engaged in inappropriate behavior and inappropriate

         conduct at Family Centers for Recovery/Wellington Retreat in violation of their

         program policy manual.

52.      Plaintiff asserted her conduct was a mistake, but also that it was not a valid basis for

         dismissal from the Defendant’s graduate program.

53.      Plaintiff wrote an apology to Dr. Moran at Wellington Retreat.

54.      Plaintiff repeatedly apologized to Defendant’s professors and staff.

55.      Plaintiff begged to be permitted to remain in the program and to be afforded an

         opportunity to complete her graduate degree.

56.      During Plaintiff’s disciplinary meetings, she asked that the committee decelerate

         her rather than dismiss her. She offered to take classes or work in the field to prove

         her sincerity and worth, and she requested the opportunity to finish what she started,

         even if it meant repeating the clinical rotation year.

57.      Defendant rejected Plaintiff’s request.

58.      On page 27 of Defendant’s 2019-2020 PA Student Handbook it states: “Students

         may be subject to program probation for the following reasons: A lapse in

         professionalism, which can include but is not limited to: … ‘Inappropriate,

         accusative, derogatory, argumentative, disrespectful or privileged information

         included in any kind of written materials, electronic mail, conversations, or

         comments in any open setting at the University or clinical site,’ and ‘Any other

         situation or condition not addressed in this list of behaviors will be considered

         independently according to the individual case.’…”




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59.      Furthermore, page 28 of Defendant’s PA Student Handbook indicates, “Students

         will be subject to program deceleration pending review for the following reasons:

         … ‘A repeated lapse in professionalism.’…”

60.      Additionally, page 29 of this Handbook states, “Students will be subject to program

         dismissal pending program review for the following reasons: … ‘Using or being

         under the influence of drugs or alcohol while participating in any program activity

         or while present in any facility where program activities occur.’ …‘Being dismissed

         from clinical site based upon inappropriate behavior or unprofessional conduct

         subject to review by the Faculty Executive Committee.’”

61.      Defendant’s PA Handbook also indicates, “A student will receive written notice of

         their dismissal from the Program Director. If the student is on campus, the Program

         Director will attempt to schedule a meeting in person to give the written notice to

         the student. If the student is not on campus, or cannot return for a meeting, the letter

         will be sent to the most recent address provided to the program by the student, via

         Certified Mail. Upon receipt of the written notice, the student must sign one copy

         and return it to the Program Director to confirm receipt. It is the responsibility of

         the student to provide a current address or to return a signed copy of the written

         notice of dismissal.”

62.      The PA Handbook in question has an appendix on page 43 to address deceleration

         and dismissal.

63.      Page 43 says, in part “The Program Director will draft a memo to Academic

         Records and Graduate Admissions to inform them of the decision…”




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64.      Paragraph 5 of this page states, “If a student is decelerated and accepted back into

         the program, another memo will be written by the Program Director to request that

         Graduate Admissions change the student’s status from Graduate Exploratory (9 96)

         back to the program.”

65.      Additionally, Paragraph 6 indicates, “A memo will be written to the student by the

         program director that will include information about their dismissal/ deceleration,

         that they will be switched to Graduate Exploratory, and that they should contact

         Student Accounts and Financial Aid (if applicable). If the student is decelerated and

         has a successful appeal, they will then be changed back to the program. If the

         student’s appeal is successful, a memo will be written notifying Graduate

         Admissions to restore student’s PA major code and which program catalog year the

         student will follow.”

66.      In addition to Defendant’s Policy Manual, Defendant has a “Master of Science

         Physician Assistant Studies Clinical Clerkships Experience Manual Academic for

         Year 2019-2020.” On page 6, it states: “Students are representatives of their

         reputation, the Slippery Rock University reputation and the reputation of the

         physician assistant profession. This includes respect and professionalism shown to

         all staff, personnel, preceptors, fellow students and patients encountered during the

         clinical year and throughout their Physician Assistant career.”

67.      Page 7 of Defendant’s manual explains students must “Display professional

         behavior at all times during clinical rotations. This includes but is not limited to:

            -    Following all policies/procedures, completing required forms, and

                providing patient/family centered care at all times.



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            -   Maintaining respect and dignity of patients, faculty, peers, staff and other

                members of the community.

            -   Accepting feedback and asking for suggestions for improvement of clinical

                skills.

            -   Seeking out opportunities to perform procedures on the Recommended

                Procedure List for the clerkship.”

68.      Furthermore, Defendant’s manual indicates that “Students must obey all HIPAA

         requirements, which includes: avoiding discussions about patient care issues in

         hallways, elevators, cafeteria or other public locations; securing all patient

         documentation and not discussing specific patient situations outside of the

         designated care team.”

69.      Under the “Professionalism” section on page 9, the Defendant states: “Remember

         that you are representing Slippery Rock University, the Physician Assistant

         Program, yourself and the profession on a daily basis. The Slippery Rock Physician

         Assistant Program expects all students to behave in the highest of standards that is

         expected of any health care provider. Physician Assistant students have a

         responsibility to patients, faculty, preceptors and ALL members of the healthcare

         team to maintain the highest standards of professionalism… If at any time

         unprofessional behavior is identified it may lead to failure of the clerkship and/or

         dismissal from the Slippery Rock Physician Assistant program.”

70.      According to Defendant, examples of unprofessional behavior include, in part:

         “Violation of HIPAA standards in any form,” “Insubordination to a preceptor or

         faculty member.”



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71.      Defendant specifies on page 8, “Students who display unprofessional behavior will

         have documentation of these interactions placed in their student file and be subject

         to disciplinary action. Repeated offenses may result in dismissal from the program.”

72.      In addition, Defendant states that “All professionalism standards as addressed in the

         Program Policy Manual must be adhered to at all times.”

73.      Plaintiff admits that she signed documentation from Wellington Retreat

         acknowledging her receipt, recognition, and understanding of their rules.

74.      Wellington Retreat policies do not prohibit students from having guests.

75.      Wellington Retreat is technically a secure facility, but students come and go as they

         please, and residents and staff frequently let others into the facility without

         identification.

76.      Wellington Retreat’s “Guidelines for Students” specifies, “No product containing

         alcohol or any illicit or controlled substances are allowed on-site except for

         physician prescribed stimulants. Violating this policy will result in immediate

         expulsion from the educational program.”

77.      In addition, their Guidelines state, “Students cannot be or arrive on-site under the

         influence of alcohol or any other illicit and controlled substance. Violating this

         policy will result in immediate expulsion from the educational program.”

78.      Plaintiff admitted to consuming a couple of drinks on the evening of February 29,

         2020.

79.      Plaintiff was not working or on call during that evening.

80.      Plaintiff was not participating in program activities.




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81.      Plaintiff was not under the influence of alcohol or any illicit or controlled substance

         on program facility grounds.

82.      Plaintiff did not bring alcohol or any illicit or controlled substances to the facility.

83.      Plaintiff did not violate any HIPAA regulations.

84.      Plaintiff did not discuss patient care issues or have any patient records in her room.

85.      Plaintiff’s classmate who was involved in this incident at Family Centers for

         Recovery/Wellington Retreat was a fellow student in Defendant’s Physician

         Assistant Graduate Program.

86.      Plaintiff’s classmate was initially dismissed from the Program, but she was later

         permitted to re-enter Defendant’s Physician Assistant Graduate Program.

87.      Plaintiff completed eight (8) out of ten (10) clinical rotations.

88.      Plaintiff was dismissed from her ninth rotation.

89.      Plaintiff has never had any other disciplinary issues.

90.      Defendant dismissed Plaintiff from the entire Physician Assistant Studies Graduate

         Program on March 23, 2020.

91.      Defendant’s letter to Plaintiff dated March 23, 2020 states, “According to Page 29

         in the Slippery Rock Physician Assistant program policy manual, a student who is

         dismissed from a clinical site based on inappropriate behavior or unprofessional

         conduct is subject to program dismissal. The conduct exhibited by you at Family

         Centers for Recovery/Wellington Retreat was inappropriate and unprofessional thus

         resulting in your dismissal from the program.”

92.      Plaintiff asked Defendant for an opportunity to appeal or challenge their decision.

93.      Defendant told Plaintiff there was no process for reconsideration.



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94.      Defendant did not give Plaintiff an opportunity to appeal its decision or offer her an

         alternative to have the decision be reconsidered.

95.      Plaintiff contacted the Dean of Slippery Rock University to request reconsideration

         of the Physician Assistant Program’s decision to prohibit an appeal, and the Dean

         said it was up to the Physician Assistant Program to decide.

96.      Plaintiff continues to request an opportunity to complete her graduate program’s

         requirements.

  COUNT I: VIOLATION OF FOURTEENTH AMENDMENT DUE PROCESS

97.      All preceding paragraphs are incorporated herein.

98.      The Fourteenth Amendment of the United States Constitution guarantees due

         process: “All persons born or naturalized in the United States, and subject to the

         jurisdiction thereof, are citizens of the United States and the State wherein they

         reside. No State shall make or enforce any law which shall abridge the privileges or

         immunities of citizens of the United States; nor shall any State deprive any person

         of life, liberty, or property, without due process of law; nor deny to any person

         within its jurisdiction the equal protection of the laws.”

99.      In Gati v. Univ. of Pittsburgh of Com. Sys. of Higher Educ., 91 A.3d 723 (2014),

         the Court held: “The United States Supreme Court has held that public schools, as

         state actors, must adhere to the strictures of federal procedural due process.” Goss

         v. Lopez, 419 U.S. 565, 574 (1975). “The Fourteenth Amendment forbids the State

         to deprive any person of life, liberty, or property without due process of law.” Id. at

         572.




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100.      In the university context[,] due process is defined according to whether the

          institution is public or private. As stated in Boehm v. Univ. of Pennsylvania Sch. of

          Veterinary Med., 573 A.2d 575 (1990)..., “the law is fairly well established that in a

          state owned college or university, due process requires notice and some opportunity

          for hearing before a student is disciplined.”

101.      In the landmark decision of Dixon v. Alabama State Board of Education, 294 F.2d

          150 (5th Cir.1961), cert. denied, the United States Court of Appeals for the Fifth

          Circuit held “that due process requires notice and some opportunity for hearing

          before a student at a tax-supported college is expelled for misconduct.” Id. at 158.

102.      The Court went on to explain:

                   The notice should contain a statement of the specific charges
                   and grounds which, if proven, would justify expulsion under the
                   regulations of the Board of Education. The nature of the hearing
                   should vary depending upon the circumstances of the particular case.
                   The case before us requires something more than an informal interview
                   with an administrative authority of the college. By its nature, a charge
                   of misconduct, as opposed to a failure to meet the scholastic standards
                   of the college, depends upon a collection of the facts concerning the
                   charged misconduct, easily colored by the point of view of the witnesses.
                   In such circumstances, a hearing which gives the Board or the
                   administrative authorities of the college an opportunity to hear both
                   sides in considerable detail is best suited to protect the rights of all
                   involved. This is not to imply that a full-dress judicial hearing, with the
                   right to cross-examine witnesses, is required. Such a hearing, with the
                   attending publicity and disturbance of college activities, might be
                   detrimental to the college's educational atmosphere and impractical to
                   carry out. Nevertheless, the rudiments of an adversary proceeding may be
                   preserved without encroaching upon the interests of the college. In the
                   instant case, the student should be given the names of the witnesses
                   against him and an oral or written report on the facts to which each
                   witness testifies. He should also be given the opportunity to present to the
                   Board, or at least to an administrative official of the college, his own
                   defense against the charges and to produce either oral testimony or written
                   affidavits of witnesses in his behalf. If the hearing is not before the Board
                   directly, the results and findings of the hearing should be presented in a
                   report open to the student's inspection. If these rudimentary elements of


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                     fair play are followed in a case of misconduct of this particular type, we
                     feel that the requirements of due process of law will have been fulfilled.
                     Id. at 158–159. See: Gorman v. University of Rhode Island, 837 F.2d 7
                     (1st Cir.1988); Esteban v. Central Missouri State College, 415 F.2d 1077
                     (8th Cir.1969), cert. denied, 398 U.S. 965 (1970); Jaska v. Regents of
                     University of Michigan, 597 F.Supp. 1245 (E.D.Mich.1984), aff'd, 787
                     F.2d 590 (6th Cir.1986); Herman v. University of South Carolina, 341
                     F.Supp. 226 (D.S.C.1971), aff'd, 457 F.2d 902 (4th Cir.1972). See
                     also: Board of Curators of University of Missouri v. Horowitz, 435 U.S.
                     78 (1978); Goss v. Lopez, 419 U.S. 565 (1975); Jones v. Snead, 431 F.2d
                     1115 (8th Cir.1970); Wasson v. Trowbridge, 382 F.2d 807 (2d
                     Cir.1967); Barker v. Hardway, 283 F.Supp. 228
                     (S.D.W.Va.1968), aff'd, 399 F.2d 638 (4th Cir.1968), cert. denied, 394
                     U.S. 905, (1969).

103.      “A college is a unique institution which, to the degree possible, must be self-

          governing and the courts should not become involved in that process unless the

          process has been found to be biased, prejudicial or lacking in due

          process.” Schulman v. Franklin & Marshall Coll., 538 A.2d 49, 52 (1988) (en

          banc ).

104.      Plaintiff was a student in Defendant’s Physician Assistant Studies Graduate

          Program.

105.      Defendant is a state-owned public university.

106.      Defendant receives state and federal tax dollars.

107.      Defendant violated Plaintiff’s due process right to be heard.

108.      Defendant held two meetings to address concerns regarding Plaintiff’s actions

          during a clinical rotation.

109.      Defendant failed to identify with any specificity the grounds for which it may

          dismiss Plaintiff from her graduate program.

110.      Defendant failed to conduct a hearing to address the concerns.

111.      Defendant held two informal meetings with university faculty.

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112.      The meetings on March 4, 2020, and March 18, 2020 consisted of informal

          interviews with university staff.

113.      Plaintiff did not have notice of the specific charges or claims being brought against

          her by the Defendant.

114.      Defendant vaguely stated that Plaintiff engaged in “unprofessional” conduct.

115.      Defendant failed to preserve the rudiments of an adversary proceeding.

116.      Defendant failed to provide a witness list.

117.      Defendant failed to provide Plaintiff with an oral or written report on the facts to

          which each witness would testify.

118.      Plaintiff was provided with an opportunity to provide a statement.

119.      Defendant did not have a chairperson present at either meeting.

120.      Defendant’s meetings with Plaintiff regarding this disciplinary issue were not

          before the University Board or the entirety of the Physician Assistant Studies Board

          or Committee.

121.      Defendant failed to provide the results and findings of the hearing in a report open

          to the student's inspection.

122.      Defendant failed to explain or report what specific behavior was deemed

          “unprofessional conduct” to the point of requiring dismissal.

123.      Plaintiff was not put on notice with respect to the specific actions that rose to the

          level of unprofessional behavior.

124.      Plaintiff was not using or under the influence of alcohol while participating in a

          program activity.




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125.      Plaintiff was not under the influence of alcohol or using alcohol on program facility

          grounds.

126.      Plaintiff did not violate patient confidentiality or violate HIPAA.

127.      Plaintiff was dismissed from the Wellington Retreat clinical rotation.

128.      Defendant’s PA Student Handbook does not require dismissal for the above-

          mentioned sanctions, but it indicates a student “may be subject to dismissal.”

129.      Defendant rejected Plaintiff’s request to decelerate her or put her on probationary

          status to continue her graduate program.

130.      Defendant failed to explain or report why Plaintiff’s alleged actions required

          dismissal, but the identical actions of her classmate permitted reinstatement.

131.      Plaintiff asked the Physician Assistant Studies Department how she could appeal

          the decision to dismiss her, and she was told there was no process or opportunity to

          appeal.

132.      Other students in the same program as Plaintiff have been given the opportunity to

          appeal dismissals from the Physician Assistant Studies Program.

133.      Plaintiff contacted the Dean of Slippery Rock University and she was told that if the

          Physician Assistant program did not permit her to appeal, then there was nothing

          Defendant could do.

134.      Defendant breached Plaintiff’s due process rights by failing to conduct appropriate

          disciplinary proceedings to address allegations of misconduct and

          unprofessionalism.

135.      Defendant’s policies and procedures do not afford a student who believes that he or

          she has not been afforded due process with any recourse.



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136.      Defendant breached Plaintiff’s due process rights by preventing Plaintiff from

          appealing the decision to dismiss her from the Physician Assistant Studies Graduate

          Program.

  COUNT II: VIOLATION OF FOURTEENTH AMENDMENT DUE PROCESS
                      PROPERTY INTEREST

137.      All preceding paragraphs are incorporated herein.

138.      “The protection of procedural due process attaches to property interests arising

          from, inter alia, entitlements created by state statute.” Gati v. Univ. of Pittsburgh of

          Com. Sys. of Higher Educ., 91 A.3d 723 (2014).

139.      Furthermore, in Gati, the Court explained:

             Concerning public institutions of higher learning, the Supreme Court has
             assumed, without deciding, that students have a constitutionally protected
             property right in their continued enrollment. Regents of the Univ. of Mich. v.
             Ewing, 474 U.S. 214, 222–23, (1985); Board of Curators of the Univ. of Mo. v.
             Horowitz, 435 U.S. 78, 84–85, (1978).
             …
             In any event, “the right of a student to attend a public or private college or
             university is subject to the condition that he comply with its scholastic and
             disciplinary requirements[.]” Boehm v. Univ. of Penn. Sch. of Veterinary
             Medicine, 573 A.2d 575, 578 (Pa. Super 1990). Said another way, the essence
             of the bargain between student and university is as follows: “A student has a
             reasonable expectation based on statements of policy by [the school] and the
             experience of former students that if he performs the required work in a
             satisfactory manner and pays his fees he will receive the degree he seeks.” Ross
             v. Penn. State Univ., 445 F.Supp. 147, 152 (M.D.Pa.1978). Gati v. Univ. of
             Pittsburgh of Com. Sys. of Higher Educ., 91 A.3d 723, 730 (2014).
140.      The Court in Borrell v. Bloomsburg Univ., 955 F. Supp. 2d 390 (M.D. Pa. 2013)

          held:

             Courts in the Third Circuit have repeatedly recognized that a graduate student
             has a property interest protected by procedural due process in the continuation
             of his or her course of study under Pennsylvania law. See Coulter v. East
             Stroudsburg Univ., No. 10–CV–0877, 2010 WL 1816632, at *2 (M.D.Pa. May
             5, 2010); Manning v. Temple Univ., No. Civ. A. 03–4012, 2004 WL 3019230,
             at *8 (E.D.Pa. Dec. 30, 2004) (“Under Pennsylvania law, it has been held that a
             graduate student has a property interest protected by procedural due process in

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             the continuation of her course of study.”); Stoller v. College of Medicine, 562
             F.Supp. 403, 412 (M.D.Pa.1983); Ross v. Penn. State Univ., 445 F.Supp. 147,
             153 (M.D.Pa.1978). Indeed, this Court noted in Ross that graduate students
             have “a reasonable expectation based on statements of policy by [the university]
             and the experience of former students that if [they] perform the required work in
             a satisfactory manner and pay [their] fees [they] will receive the degree [they]
             seek.” Ross, 445 F.Supp. at 152.

141.      Similarly, the Plaintiff in this case has a property interest in her continued

          participation in the Physician Assistant Graduate Studies Program in pursuit of her

          graduate degree.

142.      Plaintiff had successfully completed five (5) semesters of her graduate program.

143.      Plaintiff had successfully completed eight (8) out of ten (10) clinical rotations.

144.      Plaintiff’s goal was to continue working toward her graduate degree and to meet all

          graduation requirements.

145.      Plaintiff expected to be able to continue the required work in Defendant’s program.

146.      Plaintiff continues to seek readmission into the Physician Assistant Graduate

          Studies Program to complete all necessary graduation requirements in accordance

          with Defendant’s policies and procedures.

  COUNT III: VIOLATION OF THE FOURTEENTH AMENDMENT EQUAL
      PROTECTION CLAUSE UNDER “CLASS OF ONE” THEORY

147.      All preceding paragraphs are incorporated herein.

148.      The Equal Protection Clause of the Fourteenth Amendment directs that no state

          shall “deny to any person within its jurisdiction the equal protection of

          the laws.” U.S. Const. amend. XIV, § 1.

149.      In Village of Willowbrook v. Olech, 528 U.S. 562 (2000), the Supreme Court

          outlined the “class of one” theory of equal protection.

150.      Under a “class of one” claim, a plaintiff asserts that “he has been intentionally

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          treated differently from others similarly situated and there is no rational basis for

          the difference in treatment.” Hill v. Borough of Kutztown, 455 F.3d 225, 239 (3d

          Cir. 2006) (quoting Village of Willowbrook v. Olech, 528 U.S. 562, 564 (2000)).

151.      According to the Third Circuit, to state a “class of one” claim, a plaintiff must

          allege that “(1) the defendant treated him differently from others similarly situated,

          (2) the defendant did so intentionally, and (3) there was no rational basis for the

          difference in treatment.” Hill, 455 F.3d at 239.

152.      In Borrell v. Bloomsburg Univ., 955 F. Supp. 2d 390 (M.D. Pa. 2013), the Court

          explained: “[p]ersons are similarly situated under the Equal Protection Clause when

          they are alike in all relevant aspects,’ ” Mun. Revenue Servs., Inc. v. McBlain, 347

          Fed.Appx. 817, 825 (3d Cir.2009) (quoting Startzell v. City of Phila., 533 F.3d 183,

          203 (3d Cir.2008)), “the law in the Third Circuit does not require [the plaintiff] to

          show that the [comparators] are identical in all relevant respects but only that they

          are alike.” Southersby Dev. Corp. v. Borough of Jefferson Hills, 852 F.Supp.2d

          616, 628 (W.D.Pa.2012) (citing Startzell, 533 F.3d at 203); see also Simmermon v.

          Gabbianelli, 932 F.Supp.2d 626, 632–33 (D.N.J.2013); Thomas v.

          Coopersmith, No. 11–7578, 2012 WL 3599415, at *5 (E.D.Pa. Aug. 21, 2012).

153.      “Determining whether an individual is ‘similarly situated’ to another individual is a

          case-by-case fact-intensive inquiry.” Chan v. Cnty. of Lancaster, No. 10–3424,

          2011 WL 4478283, at *15 (E.D.Pa. Sept. 26, 2011) (citing Monaco v. Am. Gen.

          Assurance Co., 359 F.3d 296, 305 (3d Cir.2004)).

154.      Here, Plaintiff was a student in Defendant’s Physician Assistant Studies Graduate

          Program.



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155.      Plaintiff was living in Florida with a fellow student in the exact same program.

156.      Plaintiff and her classmate were both participating in the same clinical rotation.

157.      Plaintiff and her classmate were both alleged to have committed the same

          misconduct.

158.      Plaintiff and her classmate were both dismissed and removed from the clinical

          rotation at Wellington Retreat.

159.      Plaintiff and her classmate were both subject to discipline by Defendant.

160.      Plaintiff and her classmate were both dismissed from the Physician Assistant

          Studies Graduate Program.

161.      Plaintiff’s classmate was later permitted to reenter the program and to continue her

          studies.

162.      Plaintiff was not permitted to appeal her dismissal from Defendant’s program.

163.      Plaintiff has not been afforded the opportunity to continue her education in the

          Physician Assistant Studies Graduate Program.

164.      Other students in the same Graduate Program have been dismissed, and have then

          been given an opportunity to reenter the Physician Assistant Studies Graduate

          Program.

                        COUNT IV: BREACH OF CONTRACT

165.      All preceding paragraphs are incorporated herein.

166.      To establish a breach of contract claim under Pennsylvania law, a party must

          establish: the existence of a contract; a breach of duty imposed by the contract; and

          damages. Ware v. Rodale Press, Inc., 322 F.3d 218, 225 (3d Cir. 2003). When it

          interprets a contract, a court must determine the intent of the parties and it must


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          give effect to all provisions of the contract. Krizovensky v. Krizovensky, 624 A.2d

          638, 642 (Pa. 1993).

167.      The implied duty of good faith in Pennsylvania “is not limitless. Rather, there must

          be some relationship to the provisions of the contract itself to invoke the duty of

          good faith.” W. Run Student Hous. Assocs., LLC v. Huntington Nat’l Bank, 712

          F.3d 165, 170 (3d Cir. 2013).

168.       In Haywood v. University of Pittsburgh, the district court explained that a breach

          of the implied duty of good faith is a breach of contract between the parties. 976

          F.Supp. 2d 606, 627 (W.D. Pa. 2013).

169.      The determination of whether a party failed to exercise good faith in the

          performance of a contract is fact-based. Id.

170.      “The covenant of good faith may also be breached when a party exercises discretion

          authorized in a contract in an unreasonable way.” Id. (quoting Montanez v. HSBC

          Mortg. Corp., 876 F.Supp. 2d 504, 513 (E.D. Pa. 2012)) (quotation removed).

171.      “Specific performance compels the surrender of a thing in itself, because that thing

          is unique and cannot by its nature be duplicated.” Cimina v. Bronich, 537 A.2d

          1355, 1357 (Pa. 1988).

172.      Plaintiff is likely to succeed on the merits of her breach of contract claim, as she has

          established all three elements. See Ware, 322 F.3d at 225.

173.      First, Plaintiff was privy to a contractual relationship when she enrolled in

          Defendant’s institution and paid her tuition.

174.      It is well established in Pennsylvania that suits may be brought by students against

          colleges and universities for breach of contract where the institution ignores or



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          violates portions of the written contract. See Cavaliere v. Duff’s Business Inst., 605

          A.2d 397, 404 (Pa. Super. Ct. 1992) (finding that a breach of contract suit against a

          private educational institution would be theoretically viable in certain

          circumstances); Crabtree v. California Univ. of Pennsylvania, 606 A.2d 1239, 1240

          (Pa. Commw. Ct. 1990) (refusing to hold that a university catalog constituted a

          contract between a private university and a student, but nonetheless finding that, if

          the catalog was a contract, the university did not violate the contract); Boehm, 573

          A.2d at 579 (stating that the relationship between a private college and its students

          is contractual in nature); Merrow v. Goldberg, 672 F.Supp. 766, 774 (D.Vt.1987);

          Petock v. Thomas Jefferson University, 630 F.Supp. 187, 191 (E.D.Pa.1986);

          Jansen v. Emory University, 440 F.Supp. 1060 (N.D.Ga.1977), aff'd, 579 F.2d 45

          (5th Cir. 1978).

175.      Plaintiff in this case also went to the Dean of the University and requested an

          appeal.

176.      Defendant’s Dean told Plaintiff that the Physician Assistant Studies Graduate

          Program operated under its own set of rules, separate and apart from Defendant’s

          general policies and procedures.

177.      Defendant’s Dean rejected Plaintiff’s request go appeal her dismissal from the

          Graduate Program.

178.      Plaintiff received a student handbook for “Student Guidelines for Program Learning

          Policies & Procedures Master of Science in Physician Assistant Studies Academic

          Year 2019-2020.”




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179.      Plaintiff also received the “Slippery Rock University Master of Science Physician

          Assistant Studies Clinical Clerkships Experience Manual Academic Year 2019-

          2020.”

180.      Plaintiff paid tuition to participate in this program during the 2019-2020 program

          academic year.

181.      Plaintiff was in good standing both academically and professionally until the

          incident in question on March 1, 2020.

182.      Defendant breached the contract by failing to adhere to its own program guidelines,

          policies, and procedures.

183.      As a result of Defendant’s breach, Plaintiff suffered damages in the form of

          dismissal from her graduate program of choice, almost two years into the program.

184.      This breach cannot be remedied by a refund in tuition or any other equitable

          remedy.

185.      The facts clearly establish Plaintiff’s right to specific performance, as no adequate

          remedy at law exists.

186.      Justice requires that Defendant permit Plaintiff to re-enter its Physician Assistant

          Studies Graduate Program and to work toward completing graduation requirements.

187.      Plaintiff’s reinstatement and admission into the Defendant’s program is the only

          remedy that would put her back into the place she would be but for Defendant’s

          actions. See Cimina, 537 A.2d at 1358.

188.      Plaintiff has established the damages caused by Defendant’s breach, and she has

          demonstrated her entitlement to specific performance that will require Defendant to




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            permit Plaintiff to reenroll and to participate in its Physician Assistant Graduate

            Program.

   WHEREFORE, Plaintiff requests that this Court enter judgment in her favor and against

Defendant as follows:

         a) Defendant shall permit Plaintiff to re-enroll in its Master of Science Physician

            Assistant Studies Graduate Program and afford her the opportunity to complete all

            program requirements;

         b) Plaintiff’s transcript will be revised to remove the “dismissal” from the Spring 2020

            section;

         c) Attorneys’ fees and costs will be reimbursed; and

         d) Such other relief as this Court deems just and proper.

Respectfully submitted,


/s/ Kristen C. Weidus                               /s/ Lisa Postlewait
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